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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA




  ALAN MONTENEGRO,                             Case No. 2:24-cv-01876-SB-BFM
         Plaintiff,

  v.                                           ORDER TO SHOW CAUSE RE
                                               DISMISSAL FOR LACK OF
  CVS PHARMACY, INC. et al.,                   PROSECUTION

         Defendants.



        Plaintiff filed its complaint against Defendants CVS Pharmacy, Inc., and
 CVS Health Corporation on March 7, 2024. On March 19, 2024, Plaintiff
 effectuated service on Defendants. See Dkt. Nos. 9–10. Defendants failed to
 timely respond, and Plaintiff has not sought entry of default against Defendants.
 Plaintiff is ORDERED TO SHOW CAUSE, in writing, no later than April 24,
 2024, why its claims should not be dismissed for lack of prosecution. No oral
 argument on this matter will be heard unless otherwise ordered by the Court. See
 Fed. R. Civ. P. 78; Local Rule 7-15.

       The Court will consider as an appropriate response to this order to show
 cause (OSC) the filing, on or before April 24, 2024, of an application for entry of
 default under Federal Rule of Civil Procedure 55(a). The filing of such an
 application shall result in the automatic discharge of this OSC without further
 order. Failure to timely respond to the OSC will be deemed consent to the
 dismissal without prejudice of Plaintiff’s claims.


 Date: April 16, 2024                          ___________________________
                                                     Stanley Blumenfeld, Jr.
                                                   United States District Judge



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